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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

  In Re: New York City Policing
  During Summer 2020 Demonstrations
                                                     20 Civ. 8924 (CM)(GWG)


                                                     [PROPOSED] ORDER
  This filing is related to:
  Payne v. de Blasio, 20 Civ. 8924;
  People of the State of New York v.
  City of New York, No. 21-cv-322;
  Gray, et al v. City of New York, et al,
  No. 21-cv-06610;
  Rolon, et al v. City of New York, et al,
  No. 21-cv-2548.



       Consistent with the Court’s February 7, 2024 Decision and Order (ECF No. 1147)

granting the Parties’ Joint Motion to Dismiss Injunctive Claims with Prejudice and Retain

Jurisdiction (ECF No. 1099), the Court hereby enters this Stipulation of Dismissal, retaining

jurisdiction to enforce the attached Stipulated Order Pursuant to Fed. R. Civ. P. 41(a)(2) (the

“Agreement”) in accordance with its terms for the duration of the Agreement, and incorporates

into this Order the terms of the Agreement, which is annexed hereto as Exhibit A. See Kokkonen

v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 381 (1994) (recognizing that a federal district

court may retain jurisdiction to enforce a “dismissal-producing settlement agreement” in its

order); Hendrickson v. United States, 791 F.3d 354, 358 (2d Cir. 2015); see, e.g., So-Ordered

Stipulation of Voluntary Dismissal With Prejudice, Dannhauser v. TSG Reporting, Inc., No. 16
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Civ. 747 (S.D.N.Y. Dec. 20, 2017), ECF No. 93.1 Subject to the terms of this Order, the Court

dismisses the remaining injunctive claims in the consolidated cases in the above-captioned action

with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(2).



    SO ORDERED this       day of            , 2024.




                                              Hon. Colleen McMahon
                                              United States District Judge




1
  See also Memo Endorsement Order, Dannhauser v. TSG Reporting, Inc., No. 16 Civ. 747,
(S.D.N.Y. July 9, 2019), ECF. No. 109 at 1, 13 (Court’s endorsement of magistrate judge’s
report and recommendation finding the Court did have ancillary jurisdiction to decide dispute.)
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                        EXHIBIT A
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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In Re: New York City Policing During Summer

2020 Demonstrations                                              Index No. 20-CV-8924(CM)(GWG)

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                STIPULATED ORDER PURSUANT TO FED. R. CIV. P. 41(a)(2)

        WHEREAS plaintiffs Jarrett Payne; Andie Mali, Camila Gini, Vidal Guzman, Vivian
Matthew King-Yarde; Charlie Monlouis-Anderle, James Lauren, Micaela Martinez, Julian
Phillips, Nicholas Mulder, and Colleen McCormack-Maitland have filed their corrected second
amended complaint in docket number 20-cv-8924;

      WHEREAS plaintiff the People of the State of New York have filed their amended
complaint in docket number 21-cv-322;

      WHEREAS plaintiffs Kyla Rolon, Corey Gilzean, Michael Hernandez, Christopher
Husary, Keith Clingman and Jonathan Peck have filed their second amended complaint in docket
number 21-cv-2548;

       WHEREAS plaintiffs Adam Gray, Jason Donnelly, Diana Zeyneb Alhindawi, Jemell D.
Cole, and Amr Alfiky have filed their third amended complaint in docket number 21-cv-6610;

        WHEREAS plaintiffs in the Consolidated Cases (as defined below) allege that the NYPD
engaged in unconstitutional policing—using excessive force and arresting protestors, journalists,
and legal observers without probable cause and in retaliation for their speech—at racial justice
protests across New York City beginning in May 2020 in violation of the federal and state
constitutions and state law;



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       WHEREAS, the City Defendants (as defined below) have denied the allegations in the
consolidated complaints that they have violated plaintiffs’ constitutional or statutory rights;

       WHEREAS, the Sergeants’ Benevolent Association and the Detectives’ Endowment
Association have intervened in this matter and maintain that the governing law permits uniformed
members of service of the New York City Police Department (“MOS”) to use appropriate,
reasonable, and commensurate force to protect the safety of the public, other MOS, and other
individuals engaged in demonstrations, as well as the direction and speed of any and all First
Amendment Activity (“FAA”), as defined below;

         WHEREAS, the Plaintiffs, City Defendants and Union Intervenors (as defined below)
(hereinafter, “Parties”), desiring to resolve the claims for injunctive relief, including those parens
patriae claims brought by the New York State Office of the Attorney General, raised in this
litigation without further proceedings and without admitting any fault or liability, have in good
faith jointly negotiated the terms of this settlement agreement;

        WHEREAS, the Parties share the goal of an approach to policing that assures the rights of
protesters, journalists and legal observers and uses arrest and force only when necessary and in
compliance with the Constitution of the United States and the Constitution and laws of the State
of New York and the New York City Charter and local laws, in addition to assuring the safety and
rights of the general public; and,

        WHEREAS, the individual plaintiffs in Payne, Gray, and Rolon have reached a settlement
with the City Defendants with regard to their monetary damages, and will file their respective
stipulations of dismissals within forty-five (45) days of the Court’s endorsement of this Order,

It is hereby ordered pursuant to Fed. R. Civ. P. 41(a)(2) as follows:

I.     DEFINITIONS

         1.      “Consolidated Cases” shall refer to the cases bearing the captions Payne, et al. v.
Mayor Bill de Blasio et al., No. 20-cv-8924; People of the State of New York v. City of New York
et al., No. 21-cv-322; Gray et al. v. City of New York, et al., 21-cv-6610; and Rolon et al. v. City
of New York, et al., 21-cv-2548.

       2.       “Plaintiffs” shall refer to all individuals and entities listed as plaintiffs in any of

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the Consolidated Cases.

        3.     The “People of the State of New York” shall refer to the Plaintiff represented by
and through the Office of the New York State Attorney General, which has brought litigation
against Defendants raising federal and state claims pursuant to the parens patriae doctrine.

      4.       “City Defendants” shall refer to the City of New York and its relevant agencies
and employees.

       5.     “Union Intervenors” shall refer to the Detectives’ Endowment Association and the
Sergeants Benevolent Association.

        6.      “First Amendment Activity” or “FAA” shall refer to any protest or demonstration
at which individuals are expressing their rights under the First Amendment to the United States
Constitution and Article I, Section 8 of the New York State Constitution. A protest and a counter-
protest in the same general location shall be considered a single FAA for purposes of this
Agreement.

        7.       The “Strategic Response Group” ( “SRG”) is defined in this Agreement to mean
the unit currently named the Strategic Response Group, which includes the Crowd Management
Unit, and whatever name such Group or unit may bear in the future, as well as any unit or
organizational component of NYPD that now or in the future holds similar responsibilities for
crowd management or disorder control.

       8.       “Agreement” shall refer to the provisions contained in this Stipulated Order.

       9.       “Effective Date” shall mean the date on which this Stipulated Order is approved
by the Court.

      10.      To the extent that this Agreement references governing policies and provisions of
the NYPD, it refers to those policies and provisions as of the Effective Date of this Agreement.

II.    GENERAL PRINCIPLES GOVERNING THE POLICING OF FAAs

       11.     The City Defendants acknowledge that First Amendment-protected activities
serve important societal functions, including promoting transparency in government affairs;

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ensuring accountability of public officials; and encouraging community feedback, whether critical
or laudatory, that ultimately reduces tension and fosters a sense of openness and trust between
government officials and the public.

       12.       The NYPD embraces an approach to policing that assures the rights of protesters
and uses arrest and force only when necessary and in compliance with the Constitution of the
United States, the Constitution and laws of the State of New York, and the New York City Charter
and local laws.

       13.    It is current NYPD policy not to, and officers shall not, police FAAs differently
based on the message of the FAA, the race or ethnicity of the participants, or the neighborhood
where the FAA is occurring.

         14.     The NYPD shall respect the right to observe and record officers in the public
discharge of their duties in public spaces, including sidewalks, parks, and locations of FAAs, as
well as any other areas where people otherwise have a legal right to be present, including a person’s
home or business and common areas of public and private facilities and buildings. Pursuant to this
right, neither a press pass nor any other form of press identification is required to observe and
record police activity from a public place, including but not limited to (a) an area where FAAs are
taking place, (b) near where crimes are being committed, and (c) where matters of public concern
are occurring, subject only to constitutionally permissible reasonable time, place and manner
restrictions. NYPD officers may not prohibit, restrict or interfere with this right to observe and
record. In addition, NYPD officers may not arrest any person solely for observing or recording
police activity in a public place. 1

        15.     NYPD shall continue to enforce its policy that officers may not take any police
action in retaliation for individuals expressing a viewpoint, engaging in FAAs, or lawfully
exercising their right to witness, observe, record, comment on, or protest police activity. This
includes detaining, searching, arresting, issuing a citation, or using force when the officer would
not have taken such action in the absence of the protected statements or actions.

       16.      No individual will be arrested on account of their exercise of their lawful First

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  The Parties acknowledge that (i) current NYPD policy, as reflected in the Patrol Guide, states
there is no right to record inside an NYPD precinct; and (ii) there is currently litigation concerning
this issue. This Agreement does not seek to resolve that disagreement and all Parties acknowledge
they will be bound by any controlling case law.
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Amendment speech.

       17.   No individual will have any force used against them on account of their lawful
First Amendment speech.

       18.      Officers deployed to an FAA shall attempt to engage in de-escalation techniques
with the goal of facilitating the First Amendment rights of protesters.

       19.      The NYPD shall, at all times, maintain its ability to enforce the law consistent with
the U.S. Constitution, the laws of the State of New York, and the New York City Charter.

III.   NYPD POLICIES AND PRACTICES GOVERNING THE POLICING OF FAAs

       A. FAA Senior Executive/Compliance Manager & Revised Incident Commander
          Structure

        20.      The NYPD shall designate the Chief of Department or a senior-level designee
within the Chief of Department’s office holding the rank of Deputy Chief or higher with extensive
knowledge of the application of the First Amendment as it relates to protest activity to work in
conjunction with members of its Legal Bureau and to act as compliance manager for this
Agreement and to play a role in overseeing significant operational decisions relating to FAAs, as
set forth below. The NYPD may select any appropriate title for this person, but they shall be
referred to in this Agreement as the “FAA Senior Executive.”

        21.    The FAA Senior Executive shall oversee the development all policies, procedures
and training curricula required by this Agreement and shall be responsible for ensuring they are
consistent with the terms of this Agreement, including the general principles set forth in Section
II, supra.

        22.     The FAA Senior Executive shall oversee the NYPD’s continuing work to develop
a culture of facilitating free speech, deploying police only when necessary, and minimizing arrests
and uses of force in demonstrations. To that end, the FAA Senior Executive shall play an active
role in the preparation of the Department’s response to planned or anticipated FAAs and shall
participate in after-action reviews relating to any FAA, when appropriate.



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        23.     The NYPD will continue to designate an Incident Commander at each FAA to be
responsible for the command, control and coordination of all police operations. Where it is
reasonably believed that an FAA will not escalate beyond Tier One, a Member of Service holding
the rank of Sergeant or higher may be designated as the Incident Commander. In any other
situation, where an FAA is within a single precinct, the Precinct Commander or Executive Officer,
or designee holding the rank of Captain or higher, will be designated as the Incident Commander.
If the FAA is scheduled or occurs in two or more commands within the same Patrol Borough, the
Patrol Borough Commander or designee shall be designated as Incident Commander. In cases
where the FAA affects or is scheduled to affect more than one Patrol Borough, the Chief of Patrol
or designee holding the rank of Captain or higher will be designated as Incident Commander. In
the event that the Incident Commander was initially a Sergeant, but the FAA has escalated above
Tier One, the Sergeant shall remain the Incident Commander until such time as a higher-ranking
individual arrives.

        24.    In all circumstances, NYPD shall document the identity of the Incident Commander
in the After-Action Report (as defined in Part VIII, infra).

        25.     Once designated, the Incident Commander shall remain in command of police
operations for the duration of the FAA, except that when an FAA starts in one precinct or borough
and travels to another, the NYPD may designate the Precinct Commander of the new location, or
the Patrol Borough Commander, as the Incident Commander.

       26.    The transition between Incident Commanders, when feasible under the specific
circumstances of the FAA, must be a direct transfer and include a full debrief on the conditions
experienced, deployment decisions made, and other relevant information. All Incident
Commanders involved in an FAA shall prepare a written debrief summarizing their observations
and deployment decisions, which shall be included in an After-Action Report for an FAA, where
applicable under the terms of this Agreement.

     27.   Unless infeasible under the specific circumstances of the FAA, changes in Incident
Commander must be documented in real time, including time and reason for transfer.

       B. Policies and Procedures Governing Arrests at FAAs – The Red Light/Green Light
          Policy and Mass Arrest Processing

       28.       The NYPD has a policy called Red Light Green Light, which shall reflect the

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following: “Red Light” offenses are those offenses that require the approval of someone at the
rank of Captain or above before any officer may make an authorized arrest.

        29.    The following offenses shall be “Red Light” offenses: riot, incitement to riot, non-
violent obstruction of governmental administration, violation of emergency orders, disorderly
conduct, trespass, criminal mischief 3 or 4, New York State Vehicle and Traffic Law (“VTL”)
1156(a), and unlawful assembly (New York State Penal Law 240.10). Any offense not designated
as a “Red Light” offense shall be considered a “Green Light” offense.

      30.     Where a Captain (or individual of higher rank) makes the decision to authorize a
Red Light arrest, the identity of the individual who authorized the Red Light arrest shall be
documented.

        31.   NYPD members of service shall not conduct an arrest unless there is individualized
probable cause, as currently defined in NYPD policy, to believe that the person has committed
Green Light offenses or authorized Red Light offenses. This means that an NYPD member of
service may not arrest any person unless the member has sufficient objective facts based on the
member’s own personal knowledge, or reliable and trustworthy information provided by other
NYPD members or third parties, to establish probable cause that the person engaged in an unlawful
act.

        32.     If an individual is arrested and turned over to another officer for processing, the
identity of the officer who observed the arrestable offense and initiated the arrest shall be clearly
documented in the processing officer’s Digital Activity Log or other required method of recording
daily activity. This is NYPD’s current policy.

        33.     Only the FAA Senior Executive or their designee can authorize the establishment
of a Mass Arrest Processing Center (“MAPC”) and will document the reason for one. NYPD agrees
to the following protocols when activating MAPC:

        a.      The address and contact information, including telephone number, fax number and
                email, to any MAPC utilized related to arrests made at an FAA must be made
                publicly available at the time that the MAPC is established. The FAA Senior
                Executive shall be responsible for ensuring that information is publicly
                disseminated via NYPD social media accounts.


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        b.      A MAPC shall continue to have and provide to all people held: clean water, food
                (if held for more than 2 hours), personal protective equipment (“PPE”), prompt
                access to telephones, adequate medical care and restrooms.

        c.      Whenever a MAPC is established related to an FAA, NYPD shall assign enough
                members of service to staff the telephone line, fax, and email to ensure prompt and
                accurate communication with members of the public and attorneys contacting the
                MAPC about an arrestee or arrestees. NYPD must promptly accept and
                acknowledge receipt of invocations of representation as to arrestees by legal
                counsel whether received in-person, via fax, or e-mail, as well as respond to
                requests for information from legal counsel and, where appropriate, other
                members of the public, including family members and/or elected officials.

        d.      The NYPD has and shall continue enforcing its policy of placing people at
                facilities, including at MAPC, consistent with their gender identity.

        e.      The decision and justification for establishing a MAPC shall be documented.

         34.    The NYPD shall expedite the processing of any juvenile or adolescent arrested at a
protest to ensure that any period of detention is no longer than necessary to complete the processing
of that individual’s arrest.

        35.     Where an individual other than a juvenile or adolescent is arrested for a violation
or misdemeanor, that person’s arrest processing time shall not exceed 7.5 hours. The processing
time may exceed this limit if: (1) An arrestee requires emergency medical care involving
emergency services or receives medical attention at a medical or hospital facility immediately
following the arrest that prevents timely arrest processing; (2) there is an exception under CPL
150.20 or an out-of-state warrant requiring the individual to be brought to an arraignment court;
or (3) an arrestee is charged with a violation, misdemeanor, or felony not involving an FAA during
their arrest processing.

       C. The Tiered Approach to Policing FAAs

       36.     In an effort to assure the rights of protesters, the NYPD shall employ a tiered
response with one of the primary goals being to facilitate the First Amendment rights of protesters.
The NYPD shall begin its response at the lowest applicable tier based on the conditions presented

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at the FAA and may move between the tiers as appropriate based on the conditions.

        37.  Officers who are deployed to or stationed at a location in the regular course of their
work do not need to vacate their post because an FAA is taking place in the same or similar
location.

                                           TIER ONE

        38.     This tier applies, and should presumptively apply, to all FAAs, unless thresholds
for another tier apply and/or protesters specifically request the presence of officers.

       39.     The NYPD shall only deploy police officers in this tier as described below.

       40.     The NYPD may dispatch protest liaisons who meet the following criteria:

               a.     Qualifications: These officers shall be selected from the Community Affairs
                      Bureau (“CAB”) and shall act pursuant to the Mission of the Community
                      Affairs Bureau to “strengthen[ ] community relationships and [build] trust”
                      and pursuant to provisions 6, 7, 11, 12 and 15 of PG 202-10.

               b.     Role: These officers focus on communicating with protesters,
                      understanding the aims of protest organizers, communicating with
                      protesters about how officers can facilitate those aims and the circumstances
                      in which they cannot, and explaining to protesters any police action that is
                      anticipated, imminent, or undertaken. To the extent identifiable, officers
                      should have this dialogue with protest leaders. If not identifiable, officers
                      should attempt outreach to multiple protesters among the crowd.

               c.     Training: Subject to the provisions of Paragraph 75 below, the NYPD shall
                      not dispatch any protest liaison who has not received training on serving in
                      this role as required in Section IV (Training) below.

               d.     Appearance: The officers shall wear uniforms of jackets or shirts of the
                      Community Affairs Bureau which clearly displays their name, shield
                      number, and command.



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               e.      Number of protest liaisons: The NYPD shall dispatch no more protest
                       liaisons than necessary, in light of the conditions present at the time, to
                       engage in an effective dialogue with the crowd.

               f.      Documentation: The NYPD shall document the identities of all protest
                       liaisons dispatched to any FAA.

         41.     Where an FAA temporarily blocks vehicular or pedestrian traffic or otherwise
obstructs public streets or sidewalks, the NYPD shall whenever possible accommodate the
demonstration. When necessary, NYPD may deploy patrol officers to reroute vehicular or
pedestrian traffic. These officers shall not be drawn from SRG and shall not carry equipment
associated exclusively with those units such as flex-cuffs. The NYPD shall dispatch no more patrol
officers than necessary, in light of the conditions present at the time, to address vehicular or
pedestrian traffic. Where an FAA is so large or occurs in such a manner as to obstruct access to
critical infrastructure, e.g., highways, bridges and tunnels, railways, subways, schools, hospitals,
and rerouting vehicular or pedestrian traffic is not adequate to address the obstruction, the NYPD
may use the above members of service to direct the FAA to another route or location. Before so
doing, protest liaisons shall endeavor to negotiate an alternative route or location with participants
in the FAA, when feasible. All officers shall refrain from engaging in any enforcement activity
unless it conforms to the NYPD’s “Red Light/Green Light” policy as memorialized in this
Agreement.

        42.    If any patrol officers are deployed for traffic subject to Paragraph 41, the NYPD
shall deploy protest liaisons.

                                             TIER TWO

        43.     The NYPD may begin at or may move to Tier Two if the Incident Commander, in
consultation with the FAA Senior Executive, reasonably believes that Green Light violations are
imminent but have not yet occurred or that the FAA is so large or occurs in such a manner that
creates a risk of obstructing access to critical infrastructure, e.g., highways, bridges and tunnels,
railways, subways, schools, hospitals, such that it is reasonably anticipated that the deployment of
additional officers may become necessary, and that the risk of obstructing access cannot be
relieved by directing individuals to alternate entrances and exits of the critical infrastructure
location.

       44.     The FAA Senior Executive must authorize the basis for the decision to move to

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Tier Two and the Incident Commander must document the reasonable belief that served as the
basis to employ Tier Two.

         45.     The NYPD shall dispatch protest liaisons into the crowd and may dispatch officers
for traffic control consistent with Paragraphs 40 and 41 above.

        46.     The NYPD may station additional officers nearby but off-scene, and to the extent
possible, out of view of protesters. Those officers will only be deployed to the scene if Tier Three
or Tier Four is authorized.

        47.    There is a presumption against the stationing of additional officers on scene in this
tier. However, in the event that the Incident Commander reasonably believes that there is a threat
of major property damage and/or violence, and where the Incident Commander reasonably
believes that the stationing of additional resources on scene would deter the threat of property
damage and/or violence, the Incident Commander may station limited resources on scene for that
purpose. The resources deployed shall be proportional and no more than necessary to address the
imminent threat. Those resources shall be removed when the threat has resolved.

       48.     Nothing in Tier Two prevents the NYPD from engaging in enforcement activities
as permitted in any other lower tier.

                                          TIER THREE

        49.    The NYPD may begin at, or may move to, Tier Three if there is individualized
probable cause to arrest individuals who are engaged in Green Light offenses or authorized Red
Light offenses. Arrests in Tier Three shall be guided by NYPD’s “Red Light/Green Light” policy
and relevant Patrol Guide provisions, as well as the provisions governing arrests in this Agreement.

       50.     The Incident Commander must authorize the implementation of Tier Three.

        51.     The NYPD may deploy an appropriate number of officers sufficient to address the
specific individuals engaged in Green Light offenses or authorized Red Light offenses.

         52.   If applicable, while officers are employing a targeted approach to address the
specific individuals among the crowd, protest liaisons and patrol officers deployed to address
traffic concerns should continue to facilitate the FAA. The fact that some individuals in a crowd
have engaged in unlawful conduct does not by itself provide grounds to end the FAA and order
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the crowd to disperse.

        53.     Where the use of specialized formations and/or equipment is deemed necessary by
the FAA Senior Executive to address the specific individuals engaged in Green Light offenses or
authorized Red Light offenses, and in a manner consistent with ensuring the safety and continuity
of the FAA, SRG may be deployed in Tier Three. These limited resources shall only be deployed
for as long as is necessary to address the conditions that they were deployed to address.

       54.     If the Incident Commander determines that the FAA has returned to the conditions
described in Tier One or Tier Two, they shall have the discretion to implement those protocols.

       55.     Nothing in Tier Three prevents the NYPD from engaging in enforcement activities
as permitted in any other lower tier.

                                           TIER FOUR

         56.    The NYPD is permitted to move to Tier Four if protesters are seeking to gain
unauthorized entry, or physically blocking others’ entry, into a sensitive location or engaged in a
criminal offense of trespass in the third degree or higher. A sensitive location includes, but is not
limited to, a police precinct, courthouse, other government building, hospital, clinic, medical
facility, or medical provider. This tier does not apply if protesters are merely gathered in front of
a sensitive location. Sensitive locations shall be identified in each command’s Unusual Disorder
Plan pursuant to Patrol Guide Procedure Number 213-08 and shall be subject to review and
approval by the FAA Senior Executive.

       57.     The NYPD is also permitted to move to Tier Four if either:

               a. Officers have engaged in targeted efforts to address widespread Green Light
                  offenses, or widespread instances of riot, incitement to riot, or engaging or
                  preparing to engage in violent or tumultuous conduct within the meaning of the
                  unlawful assembly statute, but those offenses continue unabated and cannot be
                  addressed through further de-escalation or targeted enforcement; or

               b. Officers are presented with conditions at a location where there is probable
                  cause sufficient to establish widespread Green Light offenses, or widespread
                  instances of riot, incitement to riot, or engaging in or preparing to engage in
                  violent and tumultuous conduct within the meaning of the unlawful assembly
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                    statute, and there was no viable opportunity to address those widespread
                    offenses through further de-escalation or targeted enforcement.

       58.     Once the conditions outlined in Paragraphs 56 or 57 are met, the NYPD may only
move to Tier Four if authorized jointly by the FAA Senior Executive in consultation the Incident
Commander. Nothing in Tier Four prevents the NYPD from engaging in enforcement activities
as permitted in any other lower tier.

       59.      In Tier Four, the Incident Commander, if approved and directed by the FAA Senior
Executive, may disperse the FAA, but may not take any police action based solely on that dispersal
order until the crowd has been provided with reasonable opportunity to disperse. Nothing in this
Agreement shall diminish the obligation for all arrests for any offense to be justified by
individualized probable cause based on the actions of the individuals arrested.

        60.   The FAA Senior Executive must authorize the issuance of the dispersal order 2 and
the NYPD must document the specific basis for the decision, consistent with the requirements
herein, to move to Tier Four.

         61.    It is current NYPD policy and shall remain NYPD policy that any dispersal orders
shall:

               a.      Be audible to the entire crowd and officers should make sure the order can
                       be heard and understood, which may require the officers to move from the
                       front to the back of the crowd;
               b.      Clearly identify and not block actual exit points to allow individuals to
                       disperse;
               c.      Clearly identify where the FAA may continue, if feasible within sight and
                       sound, or as close as possible, to the original location or target of the FAA;
                       and
               d.      Be issued at least three times before police action is taken, when consistent
                       with public safety.


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 In this document, “dispersal order” is defined as an order issued by the NYPD which directs all
participants of the FAA to disperse from the area and which is issued with the purpose of ending
the FAA. Other lawful orders, such as orders to clear a public walkway or roadway shall not be
defined as “dispersal orders.”
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        62.    The NYPD shall document all details about the dispersal order, including the date,
time, location of the dispersal order, the specific paths of egress offered (where applicable), the
text of the dispersal order, the amount of time given to exit, instructions given regarding other
means of protesting, the number of times the order was issued before action was taken and, if less
than three times, the public safety justification for doing so.

       63.     If the crowd refuses to disperse after all procedures have been followed, the NYPD,
as approved and directed by the FAA Senior Executive, may initiate arresting individuals who
have refused to disperse. The NYPD shall ensure that an individual with personal knowledge shall
document the approval to make arrests in this situation and the specific reasons for arrests.

       D. Use of Force at FAAs

       64.     Provisions regarding Oleoresin Capsicum/pepper spray (“O.C. spray”):

        a.      The NYPD recognizes that use of O.C. spray constitutes physical force under the
                New York State Penal Law;

        b.      O.C. spray shall not be used at an FAA unless the use of physical force is otherwise
                permitted by law or NYPD policy;

        c.      O.C. spray may be used in the following circumstances:

                (i)     To gain or maintain control of any individual(s) actively resisting arrest
                        or lawful custody or exhibiting active aggression;
                (ii)    To prevent individuals from physically injuring themselves or any other
                        individual; or
                (iii)   In any other circumstance, officers are to be guided by the NYPD
                        Patrol Guide and the corresponding training;

        d.      In Tier Four, where the MK-9 Spray or any larger volume canister is being used
                to disperse a crowd, it can only be used by officers who have been trained in
                its use;

        e.      In Tier Four, where the MK-9 or any larger volume canister is being used to
                disperse a crowd, that use must be authorized by a supervisor;

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         f.     The MK-9 Spray or any larger volume canister may not be used against peaceful
                protestors or those engaging in passive resistance;

         g.     Where feasible, MOS should advise that O.C. spray will be used before applying
                such force;

         h.     Nothing in this Agreement prevents MOS from using O.C. spray in accordance
                with the Patrol Guide and the corresponding training;

         i.     This is NYPD’s current policy.

       65.      Police officers shall avoid intentional strikes to the head unless they reasonably
believe that they, or another, is facing the threat of death or serious bodily injury. Batons shall not
be brandished solely for the purpose of intimidating an individual engaged in lawful First
Amendment activity. This is NYPD’s current policy.

       66.     Bicycles shall continue to be used in accordance with the operative training for
crowd management and crowd control and, when deployed at an FAA, shall only be used when
consistent with the tiered approach to policing set forth in this Agreement. In any other
circumstance, police officers may use bicycles exclusively for defensive measures unless they
reasonably believe that they, or another, are facing the threat of death or physical injury. This is
NYPD’s current policy.

      67.      The NYPD prohibits and shall continue to prohibit chokeholds in compliance with
PG 221-01.

        68.     Encirclement, when used as an arrest circle, cannot be used except to effectuate the
arrest on individualized probable cause of one or more specific individuals, subject to the Red
Light/Green Light policy, within a crowd. The NYPD must only seek to encircle the individual or
individuals within a crowd who are the target of the particular arrest. To the extent that any other
individuals as to whom there is not individualized probable cause to execute an authorized arrest
are inadvertently or mistakenly encircled, such individuals must be permitted to exit the
encirclement formation immediately, and officers must facilitate those individuals’ exit at the
earliest moment possible. Enclosing individuals with an intent to take police action against them
without having individualized probable cause is what the Plaintiffs have defined as “kettling.” The

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NYPD shall not engage in such a tactic.

        69.      Officers shall provide or seek immediate medical attention for anyone injured from
a use of force or anyone seeking or in need of medical attention at an FAA. As is stated in existing
NYPD policy, failure to provide or seek immediate medical attention pursuant to NYPD policy
shall result in discipline. This is current NYPD policy.

        70.     Officers who use force (level 1, 2 or 3) during an FAA must report the force to a
supervisor and complete a TRI Interaction Report prior to the end of their tour. The TRI report
includes a narrative section, requiring officers to provide a full account of the force incident, along
with any injuries sustained and the identities of other officers that observed that use of force. Any
failure to adequately document, report, or to complete the TRI Interaction Report in a timely
manner will result in discipline. This is current NYPD policy.

        71.      Officers have a duty to intervene if they observe a use of force which does not
comply with the Paragraphs 64-74 of this Agreement or with the NYPD Patrol Guide. The NYPD
shall not retaliate against any officer who complies with this duty. This is current NYPD policy.

        72.     NYPD shall distribute and have on hand the tools necessary to safely remove or
loosen a restraint in a manner that makes them readily available to officers. Failure to loosen flex
cuffs that arrestees claim are too tight or to carry the necessary tools to safely remove flex cuffs
may subject an officer to discipline however, the officers must have a reasonable amount of time
to loosen the cuffs and it must be safe to do so.

        73.     For any person arrested at an FAA, officers shall check to ensure that any cuffs
used are not too tight on an arrestees wrists at least the following intervals: (1) upon entering a
transport van; (2) upon exiting a transport van; and (3) regularly after arriving at the applicable
arrest processing location.

        74.    The NYPD, including its Aviation Unit, shall not deploy helicopters with the intent
of intimidation or the intent of disrupting, interfering with or dispersing a lawful FAA.

       E. Supervision of Officers Deployed to Demonstrations

        75.     NYPD will expeditiously roll out the agreed-upon training and refresher training
with the goal of ensuring that all officers deployed to FAAs are trained pursuant to this Agreement.

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NYPD will prioritize such training for executives and Community Affairs Bureau officers. NYPD
commits that by Month 15 of Phase II, all initial FAA training will have been rolled out and any
MOS deployed to an FAA will have been trained. Thereafter, NYPD shall only deploy to FAAs
officers who have received the training required under this Agreement.

       76.     It is current NYPD policy and shall remain NYPD policy that BWC footage
recorded during an FAA shall be promptly categorized as demonstration-related and any additional
categorization that would help to identify the individual FAA from which it was recorded.

        77.    Supervisors will continue to proactively monitor officer activity for indications of
unlawful arrest, unlawful use of force, or biased-based policing and immediately take corrective
measures where such indications are observed or heard about and substantiated. Supervisors must
also endeavor to be easily accessible to both lower-ranking officers and community members to
hear feedback about unlawful police conduct.

IV.    TRAINING

        78.      The FAA Senior Executive shall ensure that any training developed or enhanced
reflects the policies described above.

        79.      For recruits who join the NYPD following Phase I of this Agreement, this training
shall occur in the academy and through periodic refresher trainings at least every two years, or
more often if a change in the law requires an additional training. The periodic refresher training
may take the form of videos available to NYPD officers via the NYPDU link. For all other
uniformed members of service, in addition to the specific requirements set forth below, the NYPD
shall educate its members on any policy amendments or training enhancements as a result of this
Agreement and shall implement periodic refresher trainings as described above.

        80.      The NYPD shall also enhance its current training and provide yearly refresher
training for all members of service eligible to be protest liaisons and all supervisors. The training
shall cover effective communication with protesters, de-escalation, emotional intelligence, and
crowd psychology, as well as the specific provisions of this Agreement relevant to their roles at an
FAA.

       81.      For all members of service eligible to be Incident Commanders, the training shall
cover the topics listed in Paragraph 80 above and shall also include refreshers on the provisions

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governing arrests at FAAs set forth in this Agreement and the responsibilities of Incident
Commanders set forth in this Agreement.

        82.       NYPD training shall continue to emphasize the importance of and skills for
maintaining content and viewpoint neutrality, including where policing is the subject of the FAA.
NYPD training shall also continue to emphasize the importance of facilitating First Amendment
rights, including the requirements that any content-neutral restrictions on the time, place, or
manner of expression be narrowly tailored to serve legitimate governmental interests and provide
ample alternative channels of expression. Such training shall not create the impression that any
particular political group or viewpoint is inherently hostile or prone to unlawful activity.

       83.      Defendants shall train members of service who would be responsible for issuing
dispersal orders on the dispersal order conditions required by Paragraph 61, including the
importance of ensuring that people have a reasonable opportunity to disperse and can continue to
lawfully protest following a dispersal order whenever possible.

        84.     Periodic refresher training shall be provided to all supervisors on how to oversee
and manage officers during FAAs, including intervening to ensure subordinate officers are acting
consistent with policies and training. This training shall also include the responsibility of
supervisors to direct that officers under their command, where appropriate, view refresher videos
on NYPDU.

       85.       The NYPD shall preserve for the duration of the Stipulated Order all training
materials, attendance records in an electronic format, and any video recordings of trainings.

V.     DISCIPLINE FOR MISCONDUCT DURING DEMONSTRATIONS

        86.     It is the responsibility of the NYPD to promptly, consistently, and sufficiently
discipline officers for misconduct.

        87.     The NYPD shall, pursuant to its duties under the New York City Charter, continue
to refer all complaints or suspected incidents of FADO misconduct or bias-based policing arising
from any FAA to CCRB for investigation and recommended penalty.




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       88.    The NYPD Disciplinary Matrix 3 shall be amended as follows: Add under the first
“Potential Aggravating Factors” for “Use of Excessive Force”: “Inappropriate purpose or
motivation such as the use of force to punish, retaliate, coerce, or harass a subject for any reason
including, but not limited to, making a statement, or engaging in legally protected First
Amendment speech.”

VI.    TREATMENT OF MEMBERS OF THE PRESS

        89.    During Phase I (as defined in the Oversight section below) NYPD shall institute
policies, protocols, and updates to the Patrol Guide and Administrative Guide relating to the
NYPD’s interactions with members of the press applicable to both FAA and non-FAA related
circumstances, which shall include the following:

       a.      The Patrol and/or Administrative Guide (at minimum, the current Administrative
               Guide § 304-21) shall be updated to acknowledge that there is a clearly established
               right under the First Amendment, New York Civil Rights Law § 79-P, and New
               York City Administrative Code § 14-189 to record police activity in public.

       b.      The NYPD recognizes and acknowledges that under the First Amendment to the
               U.S. Constitution, New York Civil Rights Law § 79-P, and New York City
               Administrative Code § 14-189 members of the press and the public have a clearly
               established right to photograph and record police performing their duties in public
               places. Pursuant to this right, neither members of the press nor members of the
               public need a press pass or any other form of press identification to observe and
               record police activity from a public place, including but not limited to: (i) An area
               where FAAs are taking place; (ii) near where crimes are being committed; and (iii)
               where matters of public concern are occurring, subject only to constitutionally
               permissible reasonable time, place and manner restrictions. NYPD officers may
               not prohibit, restrict or interfere with this right to observe and record. In addition,
               NYPD officers may not arrest a member of the press or public solely for observing
               or recording police activity in a public place.




3
https://www1.nyc.gov/site/nypd/about/about-nypd/policy/nypd-discipline-
matrix.page#bookmark3

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       c.      The NYPD shall specify examples of valid and invalid restrictions on the right to
               record in its policy and training, with the primary goal of maximizing access to
               observe and record police activity.

       d.      NYPD recognizes and acknowledges that a member of the press is not limited to
               people holding officially issued MOME press passes and the NYPD shall set clear
               standards in its trainings to ensure that members of the press are able to exercise
               their rights. 4 Government-issued press passes from jurisdictions or government
               agencies other than New York City must be acknowledged as valid but not
               exclusive indicia of an individual being a member of the press.

       e.      Members of the press shall have access to any location where the public is permitted
               access. NYPD officers may not put up crime/accident/incident scene tape
               or establish what are commonly known as “frozen zones” for the purpose of
               preventing members of the press from viewing or recording the scene from a public
               place.

       f.      NYPD officers may not prevent members of the press from observing or recording
               any member of service from a public place.




4
  “Journalist” or “member of the press” means an individual who gathers, reports, or licenses news
or content, for the purpose of publishing, broadcasting, or cablecasting articles, commentaries,
books, photographs, video, film, or audio by electronic, print, or digital media such as radio,
television, newspapers, magazines, wire, books, and the Internet, including but not limited to an
employee of a newsgathering organization, independent contractor, freelancer, or a self-employed
person.

To facilitate the real-time identification of members of the press protected under this Agreement,
the following shall be considered indicia of being a member of the press: visible identification as
a member of the press, such as by wearing or carrying a press credential or other press
identification or wearing or displaying distinctive clothing, labeling, insignias, or logos that
identifies the bearer as a member of the press. Other indicia may include carrying professional
equipment such as cameras, lights, microphones, or audio recorders as well as engaging in
journalistic activities such as photographing, recording (video or audio), livestreaming or
broadcasting, interviewing, or notetaking. These indicia are not exclusive, and a person need not
exhibit every one of them to be considered a journalist or member of the press.
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       g.     In response to an order by the NYPD to leave an area, MOME press pass holders
              are not required to leave the area but shall move to a safe location. At the discretion
              of the Incident Commander, members of the press may be directed to move to a
              different location where, to the fullest extent possible, they may still see and hear
              (unaided by any electronic device) ongoing newsworthy events and will not be
              subject to arrest for documenting police activity or for not leaving the general area.

       h.     Where a member of the press is arrested for any Red Light offense(s) and presents
              a MOME press credential or an official government-issued press credential from
              another jurisdiction or government agency, process for that arrest shall be approved
              by the Incident Commander and/or DCPI personnel at the time of the arrest. If such
              member of the press is arrested for a C-summons-eligible Red Light offense, the
              presumption shall be that the arrested member of the press will be issued process at
              the point of encounter. Such arrested member of the press may be removed to an
              arrest processing facility or otherwise transported to another location only in those
              instances where the Incident Commander determines that issuing process at the
              point of encounter would create a health and/or safety risk to officers or any other
              individual. In the event the member of the press is presenting a government-issued
              press credential from another jurisdiction or government agency, this shall be
              verified, to the extent possible, at the time of encounter. In a circumstance where
              the validity of the press credential is unable to be verified on scene, officers shall
              consider the following as indicia of the credential being valid: the identification
              contains a name which matches another form of identification, contains a
              photograph of the individual, details the issuing city or agency, includes the
              associated media outlet or indicates whether that individual is independent,
              includes an expiration date, or includes a serial or identification number.

       i.     In recognizing the rights of the press, this Agreement does not in any way reduce
              the rights of the public to record police activity in public.

       90.      NYPD shall amend current policy and training to reflect the above
terms. Additionally, NYPD shall train officers on treatment of the press, including policies
outlined in the previous paragraph as well as Administrative Guide § 304-21 (“When A Member
of the Service Encounters an Individual Observing, Photographing, and/or Recording Police
Activity”) and the actual interference requirements to make an arrest for Obstructing
Governmental Administration (Penal Law § 195.05). Said training shall include, at minimum: (a)

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annual training for all executive officers; (b) training at the Police Academy; (c) one-time training
for all officers, which may be in the form of a prerecorded NYPDU video prepared with the
participation and input of a third party qualified to train on press rights and which shall include
test questions for officers to complete at its conclusion; (d) FINEST message(s) to be read at least
five consecutive days’ of roll calls; (e) at least two questions concerning press rights included in
testing incorporated into academy training for newly promoted sergeants; and (f) in-person training
for any officers who provide trainings outlined above, which shall be conducted by a third party
qualified to train on media-police relations, who shall be approved by the NYPD and Plaintiffs’
counsel. Policies relating to treatment of the press in protest circumstances shall also be
incorporated in trainings concerning policing protests and community events. Training materials,
recordings of trainings, and electronic records of attendance and proof of satisfactory completion
shall be preserved.

        91.     For the duration of the Agreement, the NYPD agrees to participate in meetings at
least twice per year to discuss any problems related to the press and newsgathering activities, and
to allow representatives of the press to make any recommendations with respect to related policies
and practices. In attendance at these meetings shall be representatives from press organizations
and/or trade groups, including two of Plaintiffs’ counsel (and in no event fewer than one of
Plaintiffs’ counsel). These attendees shall not exceed seven (7) individuals in total. Defendants
agree to have in attendance the DCPI, the Commanding Officer (“CO”) of the Public Information
Division, counsel for DCPI, and another NYPD employee deemed necessary by the CO of the
Public Information Division. Either the DCPI or CO of the Public Information Division may send
a designee if he/she is unable to attend, but not both.

VII.   TREATMENT OF LEGAL OBSERVERS

        92.     The NYPD has established and will continue to enforce the following policy with
respect to Legal Observers, which is incorporated herein. The Legal Observer Program is a
comprehensive system of legal support coordinated by the National Lawyers Guild (NLG) and the
New York Civil Liberties Union (NYCLU). Recognizing the importance of their work, the
Department permits properly identified legal observers free access through police lines at the scene
of any First Amendment activity. Legal observers generally wear bright green hats (NLG) or blue
hats and blue vests (NYCLU). All members of the service will extend every courtesy and
cooperation to observers. Observers shall be permitted to remain in any area, or observe any police
activity, subject only to restrictions necessitated by personal safety factors, as determined by the
Incident Commander.

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VIII. DOCUMENTATION

       93.    For all FAAs where the below conditions are met, the NYPD shall prepare an After-
Action Report containing, at a minimum, the information set forth in this section of the Agreement.

       94.     The conditions requiring the completion of an After-Action Report include the
following:

        a.      There five or more arrests at the FAA;
        b.      A MAPC is activated and arrestees are brought to the MAPC;
        c.      SRG is deployed on scene;
        d.      Any officers are deployed pursuant to Paragraph 47 (in Tier Two) of this
                Agreement;
        e.      The FAA moves to Tier Four and/or a dispersal order within the meaning of this
                Agreement is issued; or
        f.      Any use of force involving baton strikes, OC spray, Taser or other less-lethal force,
                or where an individual was injured.

        95.    The Parties agree and acknowledge that no particular form of After-Action Report
is required and that the creation of this document by the NYPD will take place in Phase I. The
After-Action Report shall convey, at a minimum, the information contained in the following
categories:

        a.      Basic background information on the FAA. This category includes start time
                and location, estimated crowd size, topic of the FAA; and whether any permits
                were issued in connection with the FAA.
        b.      Route of Travel. This category includes planned route of travel, route of travel if
                deviated from planned route, or route of travel if not planned.
        c.      Incident Commander(s). This category includes the identity of the Incident
                Commander(s) and identities of any other executives present at the FAA.
        d.      Deployment information and personnel assigned to the FAA. This category
                includes: (i) The number of protest liaisons deployed to the FAA; (ii) whether and
                when personnel were deployed for traffic control purposes pursuant to Paragraph
                41 of this Agreement; (iii) whether and when SRG was deployed pursuant to


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       Paragraph 53 of this Agreement; and (iv) whether and when personnel were
       deployed to response to threats pursuant to Paragraph 47 of this Agreement.
 e.    Tiers. This category includes the tier(s) the FAA started at and moved to and
       information sufficient to understand the basis for the decision to start and move to
       those tiers.
 f.    Non-confidential intelligence. Whether the NYPD obtained non-confidential
       intelligence relating to this FAA prior to the event.
 g.    LRAD. This category includes information on whether, when and for what
       purpose an LRAD was used.
 h.    All enforcement actions taken at the FAA. This category includes: (i) Total
       arrests and charges associated with those arrests; (ii) whether any journalist or
       legal observer was arrested, and if so the number of journalists or legal observers
       arrested; (iii) whether any individuals were recording police activities at the time
       of their arrest and if so the number of such arrests; and (iv) if Red Light arrests
       were authorized, who authorized them.
 i.    Dispersal Order. This category includes information on (i) whether and why any
       dispersal order was issued; (ii) when such order was issued; and (iii) who
       authorized the dispersal order.
 j.    Mass Arrest Processing Center. This category includes whether and when a
       mass arrest processing center was established.
 k.    Number of people arrested held in excess of 7.5 hours following their arrest.
 l.    Property damage and injuries to members of service and civilians. This
       category includes any efforts to obtain medical aid or assistance.
 m.    Helicopters and specialized equipment. This category includes: (i) Whether and
       when helicopters were deployed to the FAA; (ii) whether and when officers were
       instructed to carry helmets or specialized equipment in responding to the FAA;
       and (iii) whether and when specialized equipment, such as large OC-spray
       cannisters, was requested in the course of the FAA.
 n.    Use of Force and Less Lethal Devices. This category includes information on
       the use of batons, OC spray, or tasers for which a TRI report would have to be
       completed.
 o.    Instructions and communications. This category includes: (i) Information and
       instructions shared with officers deployed to the FAA such as the anticipated
       climate of the FAA; (ii) confirmation that members of service were made aware
       of their direct supervisors at the FAA; and (iii) communications NYPD made or


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                attempted to make with any individual at the FAA pursuant to the terms of
                Paragraph 40(b).

        96.    After-Action Reports shall be produced to the Collaborative Committee within
forty (40) days following the conclusion of any eligible FAA.

        97.    The New York City Department of Investigation (“DOI”) may request additional
documentation relating to any FAA documented by an After-Action Report for the purposes of
carrying out their responsibilities in the Oversight phase of this Agreement, including arrest
reports, TRI reports, video footage, radio runs, activity reports, etc.

IX.    OVERSIGHT

       98.     The Parties agree to the following structure for oversight of the Agreement:

PHASE I

        99.    The purpose of Phase I is for the Parties to work in good faith to implement the
policies, procedures, and training mandated by the Agreement.

       Parties’ Responsibilities in Phase I

        100. After this Agreement is signed, the Parties shall work in good faith to carry out any
changes to training and policy (i.e., Patrol Guide changes) flowing from the agreements contained
herein. This shall be known as “Phase I.”

       101.    The responsibilities of the Parties during Phase I are as follows:

        a.      NYPD shall draft relevant policies/procedures and training curricula to effectuate
                the provisions of this Agreement. This includes the form that shall be used for the
                After-Action Report referenced in Part VIII above. The NYPD shall produce to
                Plaintiffs and Union Intervenors (as defined in this Agreement) all relevant,
                proposed policies/procedures and training curricula on the same date.

        b.      Plaintiffs and Union Intervenors shall have ninety (90) days to review and provide
                good-faith recommendations on material items on the draft policies, procedures

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                and training curricula as prepared in (a). Recommendations will be provided by
                unions/plaintiffs in consolidated documents from the respective sides.

        c.      Fourteen (14) days after receiving recommendations, the Parties shall meet-and-
                confer regarding any outstanding differences with regard to the draft policies,
                procedures and training curricula and attempt in good faith to resolve those
                differences. The NYPD shall provide the parties with copies of any revised draft
                policies, procedures and training curricula following the meet-and-confer.

        d.      If, after exhausting the meet-and-confer process, Plaintiffs believe in good faith
                that the City has drafted relevant policies/procedures and training curricula that
                omit or violate material terms of this Agreement, they may make a motion to the
                Court on that basis. Plaintiffs shall have the burden to show that the
                policies/procedures and/or training curricula at issue omit or violate a material
                term of the Agreement.

        e.      Plaintiffs shall have two opportunities to attend each training module developed
                as a result of this Agreement. Plaintiffs can raise material issues with training
                concerning the material terms of this Agreement as those observations occur,
                including in Phase II.

        f.      Any subsequent material changes to the relevant policies, procedures, or training
                curricula made during Phase II of this Agreement shall be subject to the meet-and-
                confer process outlined above.

PHASE II

       102. Phase II shall begin forty-five (45) days after NYPD’s final approval of all policies,
procedures, and training curricula.

         103.    The purpose of Phase II is to collaboratively review the NYPD’s implementation
of the terms of this Agreement, through (a) collaborative discussions as set forth below and (b) the
Department of Investigation’s review of certain FAAs as set forth in Paragraph 115.




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Collaborative Review Committee

     104. At the start of Phase II, the Parties shall establish a Collaborative Review
Committee (“Collaborative Committee”). 5 The Committee will consist of:

       a.      The Commissioner of the DOI;

       b.      The FAA Senior Executive;

       c.      A representative of the Office of Corporation Counsel;

       d.      A representative from an Intervenor Union (as defined in this Agreement);

       e.      A representative from the Office of the Attorney General;

       f.     Two attorneys from Plaintiffs’ attorneys in the Consolidated Cases (as defined in
this Agreement).

        105. Plaintiffs believe that community input provides an important perspective for the
Collaborative Committee during the Oversight Phase. To that end, Plaintiffs shall hire an expert
in community outreach who will be responsible for engaging affected communities including
grassroots organizations, legal organizations, press organizations and legal observers, and ensuring
that community input is incorporating into the Oversight Phase of this Agreement. Plaintiffs and
their community outreach expert shall organize regular efforts to solicit feedback and input from
stakeholders, including grassroots organizations, legal organizations, press organizations, and
legal observers, to provide such feedback at the standing meetings. Such feedback and input shall
include regular community meetings, roundtables, and engagement efforts with organizations and
individuals engaged in FAAs.



 5
   DOI is permitted to bring any staff needed to Committee meetings. Any other member of the
 committee presenting information to the Committee is permitted to bring staff to help present that
 information, including the expert on community outreach referred to in paragraph 105. Any such
 staff shall sign the Confidentiality Agreement agreed to by the Parties.

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       106.    The Collaborative Committee shall convene as set forth in the chart below.

       Role of DOI

       107.    Pursuant to the following paragraphs, DOI shall take on the role described below.

        108. DOI shall serve as Chair of the Collaborative Committee. No party shall have ex
parte communications with DOI related to this Agreement without the written consent of all other
parties, except insofar as DOI may confer with the Law Department as needed for any legal advice
pertaining to DOI’s fulfilment of its obligations under this Agreement or any related legal issues.
In addition, DOI may speak on an ex parte basis with the NYPD to discuss compliance with
information requests and schedule witness interviews. DOI may also request information or
schedule interviews with community members as part of its oversight work. With respect to the
Review FAAs (as defined below), DOI will share all requests for information and scheduled
interviews, as well as a list of individuals interviewed to date, with the Parties three (3) months
prior to the Collaborative Committee meetings at Months 6, 12, 18, 24, 30 and 33 at which those
FAAs will be discussed. Any Committee member may propose that DOI make additional requests
for information, or interview additional witnesses with respect to specific FAAs, at DOI’s
discretion. Such proposals must be received by DOI no later than two months prior to the above-
referenced Collaborative Committee meetings at which those FAAs will be discussed.

        109. To perform this role, the City commits to provide DOI with funding to hire
additional full-time DOI staff, for a minimum of three years and three months. The role will require
five additional DOI staff with relevant experience, including but not limited to project management
experience. Police oversight experience will be preferred but not required. DOI will post the
positions and begin the hiring processes prior to the commencement of Phase II, to allow sufficient
time to onboard staff. DOI estimates a minimum of $500,000 per year ($1,625,000 in total) to hire
the additional staff. Without this funding and staffing, DOI cannot perform its role. In the event
that DOI does not receive the funding outlined in this paragraph, either party may move the Court
for appropriate relief.

       110. As set forth in the Responsibilities section below, DOI shall assess the NYPD’s
application of the terms of the Agreement through its review of the FAAs selected for each of the
Collaborative Committee meetings at Months 6, 12, 18, 24, 30, and 33 (see schedule below). DOI
may issue recommendations stemming from its review to further the NYPD’s implementation of
this Agreement. In the event that DOI has sufficient funding and staffing but fails to conduct the

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required reviews under this Agreement, any Party may make a motion to the Court to seek
appropriate relief to ensure that DOI performs its responsibilities.

       Structure of Phase II

         111. In Phase II, the Collaborative Committee shall have standing meetings as follows:
it shall meet two (2) times between Month 0 and Month 12; three (3) times between Month 13 and
Month 24; and three (3) times between Month 25 and Month 36.

        112. At standing meetings that occur every six months, the Collaborative Committee
shall review two FAAs. DOI has discretion to select additional FAAs for review. These FAAs
shall be referred to in this Agreement as “the Review FAAs.” The Review FAAs shall be selected
six (6) months prior to the meetings. Plaintiffs will select two FAAs at the start of Phase II for the
meeting at Month 6, two FAAs at Month 6 for review at Month 12, etc., except that the City
Defendants shall be entitled to select one of the Review FAAs for each of the meetings at Month
18 and Month 24. Review FAAs shall be ones that would require completion of an After-Action
Report; the Review FAAs selected by the City must additionally be ones where either a dispersal
order was issued or arrests were made.

        113.    To ensure that the DOI can complete its review of two FAAs within a 6-month
period and to ensure Plaintiffs’ review of NYPD’s conduct is consistent with the Agreement, the
NYPD must promptly produce all relevant materials to DOI. They shall also make available for
interview any NYPD personnel whom DOI deems necessary to evaluate compliance with this
Agreement. The NYPD shall also designate an NYPD officer with authority to receive any requests
for relevant materials, produce those materials, and make NYPD witnesses available for
interviews. Only DOI shall interview such individuals; witnesses may have a union representative
or their attorney present for such interviews. NYPD will not provide highly sensitive law
enforcement materials (e.g., information that could identify or risk exposing undercovers or
confidential informants; or counterterrorism intelligence). If the NYPD claims that any documents
contain privileged or law enforcement sensitive information that the NYPD believes warrants
redactions or withholding, the NYPD will identify the basis for any such redactions or withholding
of materials to DOI, and shall in good faith endeavor to provide the DOI with the necessary
information while maintaining privilege and/or protecting law enforcement sensitive information,
and shall produce a privilege log consistent with this paragraph within one week of such
production. DOI shall additionally provide to the Collaborative Committee an index of all
documents relied upon in reviewing the Review FAAs.

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        114. DOI shall provide its recommendations in draft form fourteen (14) days prior to the
meetings at Months 6, 12, 18, 24, and 30, and will include citations to materials upon which its
recommendations are based. Fourteen (14) days prior to the above-referenced meetings, DOI shall
provide those cited materials to Plaintiffs along with any privilege log previously obtained from
NYPD. DOI shall provide its recommendations, in final form, with citations to materials upon
which its recommendations are based, fourteen (14) days prior to the deadlines at Months 8, 14,
20, 26 and 32.

     115. At the meetings concerning discussion of the Review FAAs, the Collaborative
Committee shall review the FAAs with respect to the following:

        a.     Whether the appropriate applicable tiers were enacted at all stages of the Review
               FAA, including whether the basis for enacting those tiers was supported; whether
               the reasons for enacting those tiers were appropriately documented pursuant to the
               terms of this Agreement and in a manner sufficient to enable collaborative review;
               and whether the NYPD accommodated the FAA where possible including by
               managing vehicular and pedestrian traffic;

        b.     Whether protest liaisons were deployed and carried out their functions
               appropriately at the Review FAA pursuant to the terms of this Agreement;

        c.     Whether Incident Commanders were properly identified and selected as outlined
               in this Agreement;

        d.     Whether other MOS were appropriately stationed and/or deployed at the Review
               FAA pursuant to the terms of this Agreement, including whether the justification
               for those deployment decisions was supported, and whether the justification for
               such deployment was documented pursuant to the terms of this Agreement and in
               a manner sufficient to enable collaborative review;

        e.     If SRG was deployed, whether (1) SRG was necessary to ensure safety; (2) SRG
               assured the continuation of the FAA; and (3) the deployment of SRG otherwise
               conformed to the terms of this Agreement;



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        f.      Whether any dispersal orders issued in Tier Four, or any arrests stemming from a
                failure to disperse, were issued for a reason and in a manner conforming to terms
                of this Agreement and whether the justification for those decisions were
                documented pursuant to the terms of this Agreement and in a manner sufficient to
                enable collaborative review;

        g.      Whether any use of the tactic known as encirclement as defined in this Agreement
                conformed to the terms of this Agreement;

        h.      Whether arrests made at the Review FAAs conformed to the provisions set forth
                in this Agreement and whether arrests were appropriately documented pursuant to
                the terms of this Agreement and in a manner sufficient to enable collaborative
                review; 6

        i.      Whether arrests made at the Review FAA conform to the limits on time in custody
                set forth in this Agreement;

        j.      Whether the use of force at the Review FAA conformed to the terms of this
                Agreement, whether MOS sought medical attention for specific injured
                individuals pursuant to the terms of this Agreement and whether officers
                appropriately documented the use of force pursuant to the terms of this Agreement
                and in a manner sufficient to enable collaborative review;

        k.      Whether any use of helicopters at the FAA conformed to the terms of this
                Agreement;

        l.      Whether the NYPD’s actions in relation to members of the press and individuals
                engaged in recording police activity conformed to the terms of this Agreement
                concerning the right to record and treatment of journalists;




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  To the extent any inquiry within this paragraph concerns any arrest where criminal charges
related to that arrest are actively being prosecuted, they will be investigated at the discretion of
DOI, which shall be exercised in a manner that ensures DOI’s oversight responsibilities under this
Agreement are not impaired. “Actively being prosecuted” in this context may not include cases
that have been adjourned in contemplation of dismissal.
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        m.      Whether Defendants’ action or inaction at the Review FAA, including any arrests,
                demonstrate bias or retaliation against protesters based on race, ethnicity and/or
                the message or viewpoint of the protesters.

        116. The members of the Collaborative Committee shall discuss the NYPD’s
compliance with the Agreement, including the issues outlined above, and any recommendations
for achieving compliance in the future. Based on its analysis of the Review FAAs, DOI shall
present its draft recommendations at the meetings concerning discussion of the Review FAAs, and
the other members of the committee shall have the opportunity to comment on, and discuss, these
draft recommendations.

       117. In analyzing the issues outlined above, the Collaborative Committee may also
discuss any issues with training that had been raised in Phase I that may be linked to indications
of material breach.

       118. At the meetings at Months 21, 27, and 33 (where no Review FAAs are selected),
the Collaborative Committee shall convene to discuss the NYPD’s implementation of this
Agreement, including recommendations made by DOI. DOI shall not be obliged to investigate any
matter outside of those listed in Paragraph 115.

         119. No person attending or participating in the Collaborative Committee meeting shall
record or permit the recording of any part of the meeting, including audio, video, chat, closed-
captions, or any other methods of communication. No person shall disclose to the public any
communications made exclusively during and for the Collaborative Committee process. Nothing
in this provision shall prevent any person attending or participating in the Collaborative Committee
from discussing the feasibility of any proposed recommendations with relevant stakeholders, and
nothing in this provision shall inhibit discussions of the Collaborative Committee process with
relevant stakeholders, Plaintiff counsel, or Plaintiff parties. Also nothing in this provision shall
prevent the Parties from relying on information obtained from the Collaborative Committee
process to support a motion before the Court. Documents provided to the Collaborative Committee
in the form of the After-Action Reports and any documents shared, reviewed, or discussed at the
Collaborative Committee shall be confidential and may not be disclosed to anyone outside of the
Collaborative Committee; except that the disclosure requirements of this paragraph do not apply
to the extent such documents or information are otherwise obtainable through applicable public
disclosure laws (FOIL). Committee members shall be bound by the Confidentiality Agreement
agreed upon by the Parties.


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        120. If Plaintiffs identify additional indications of lack of implementation of this
Agreement, Plaintiffs may place such matters on the agenda of any standing meeting of the
Collaborative Committee, and the Committee shall engage in good faith discussions in an attempt
to resolve the issue. Such matters may not arise solely from sporadic instances of alleged minor
violations of the terms of this Agreement.

        121. Within five (5) days after each standing meeting, DOI shall publish on its website
the identity of all participants and a list of agenda topics discussed at the meeting, including the
date and location of the FAAs reviewed or discussed.

         122. DOI shall make final determinations regarding its recommendations to NYPD.
Fourteen (14) days before the deadlines at Months 8, 14, 20, 26, and 32, DOI shall issue final
written recommendations to the NYPD, if any, stemming from its review and the issues discussed
at the standing meetings. Subsequent standing meetings shall include updates from Defendants on
implementation of DOI’s recommendations.

        123. Plaintiffs may also ask DOI to convene an emergency meeting if they believe that
there are ongoing material violations of the issues set forth in Paragraph 115, meaning the alleged
violations must be persistent and include the prospect of irreparable harm. Should DOI convene
an emergency meeting, the meeting shall focus on the issues set forth in Paragraph 115.

        124. If any party has a good faith basis to assert that the opposing party is in material
breach of the material terms of this Agreement in Phase II, they may move the Court for tailored
relief appropriate to cure the specific alleged material breach. The moving party shall bear the
burden. The moving party shall attempt to resolve the matter through a meet and confer with the
opposing party prior to any motion and, to the extent possible, through a meeting of the
Collaborative Committee. The motion must be made on the basis of a specific alleged material
breach.

       a. Where such a motion alleges a breach of the material terms of this Agreement arising
          out of the DOI Month 18 or Month 30 reports, the record upon which the Court shall
          evaluate such a motion shall be such reports and information obtained from the
          Collaborative Committee process underlying those reports. Any motion shall be
          consistent with the terms of Paragraph 115 of this Agreement.

       b. Such a motion may also be made on the basis of allegations of either: (i) Persistent
          failure to engage with the terms of the collaborative process in a manner that materially
          undermines DOI or the Parties’ ability to fulfill their obligations in Phase II; or (ii) that
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           Defendants have promulgated policies/procedures and/or training curricula that omit
           or violate material terms of this Agreement.

       c. No such motion may be made for the purpose of requesting that the Court modify or
          revise the terms or length of this Agreement.

       d. DOI shall provide an index of all materials that it relied upon to issue its reports. In the
          event that a party opts, in good faith, to engage in motion practice pursuant to this
          section, then within thirty (30) days of a request for materials from the index required
          to support the motion, DOI shall produce those materials to the requesting party. Such
          materials shall include recordings or transcripts of interviews, if available, but shall not
          include any attorney notes or impressions relating to such interviews.

DOI Reports and Recommendations

        125. Eighteen (18) months following the inception of Phase II, DOI shall issue a
progress report summarizing their review of the Review FAAs, assessing whether the
recommendations have been implemented, and summarizing the issues raised at the Collaborative
Committee to date. This report shall be public and filed with the Court. The Parties shall each be
entitled to file a response to this report, which may include information raised at the Collaborative
Committee meetings.

        126. Thirty (30) months following the inception of Phase II, DOI shall issue a report
summarizing their review of the Review FAAs, assessing whether the recommendations have been
implemented, and summarizing the issues raised at the Collaborative Committee to date. This
report shall be public and filed with the Court. The Parties shall be entitled to file a response to
this report, which may include information raised at the Collaborative Committee meetings.
Within 30 days of receiving the report, Defendants shall inform the Collaborative Committee if
they intend to move for early termination of Phase II of the Agreement. Defendants would bear
the burden of proof to demonstrate that they have achieved a level of compliance that does not
deviate significantly from the material terms of the entire Agreement. All Parties shall be provided
an opportunity to be heard on that motion.

        127. Unless Phase II has been previously terminated by the Court, thirty-six (36) months
following the inception of Phase II, DOI shall issue a report summarizing their review of the
Review FAAs, assessing whether the recommendations have been implemented, and summarizing
the issues raised at the Collaborative Committee to date. This report shall be public and filed with
the Court. Following publication of this report, Phase II shall terminate.
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128.   Any deadline can be extended by written agreement of the Parties.

Schedule of Collaborative Committee Standing Meetings and Reporting

              Start of Phase   Plaintiffs select two Review FAAs
              II (Month 0)
              Month 6          Collaborative Committee Meeting to discuss Review
                               FAAs from Month 0 and other agenda items.
                               Plaintiffs select two Review FAAs for next meeting.
              Month 8          DOI issues any final recommendations
              Month 12         Collaborative Committee Meeting to discuss review
                               FAAs from Month 6, NYPD’s progress on any
                               recommendations and other agenda items. Plaintiffs
                               select one Review FAA and the City Defendants
                               select one Review FAAs in accordance with
                               Paragraph 112 for the next meeting.
              Month 14         DOI issues any final recommendations
              Month 18         Collaborative Committee Meeting to discuss Review
                               FAAs from Month 12, NYPD’s progress on any
                               recommendations and other agenda items. Plaintiffs
                               select two Review FAAs for next meeting.

                               DOI files progress report with the Court
              Month 20         DOI issues any final recommendations
              Month 21         Collaborative Committee Meeting to discuss
                               NYPD’s progress on any recommendations and
                               other agenda items
              Month 24         Collaborative Committee Meeting to discuss Review
                               FAAs from Month 18, NYPD’s progress on any
                               recommendations and other agenda items. Plaintiffs
                               select one Review FAA and the City Defendants
                               select one Review FAAs in accordance with
                               Paragraph 112 for the next meeting
              Month 26         DOI issues any final recommendations
              Month 27         Collaborative Committee Meeting to discuss
                               NYPD’s progress on any recommendations and
                               other agenda items.
              Month 30         Collaborative Committee Meeting to discuss Review
                               FAAs from Month 24, NYPD’s progress on any
                               recommendations and other agenda items. Plaintiffs
                               select two Review FAAs for next meeting.

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                                         DOI files its progress report with the Court
                       Month 31          Defendants have opportunity to move Court for early
                                         termination, as outlined in Agreement
                       Month 32          DOI issues any final recommendations
                       Month 33          Collaborative Committee Meeting to discuss
                                         NYPD’s progress on any recommendations and
                                         other agenda items.
                       Month 36          DOI issues its Final Report/Review; Plaintiffs have
                                         opportunity to move Court for material breach as set
                                         forth in Paragraph 124(a).


       PHASE III

        129. For a period of twelve (12) months following the termination of Phase II, the Court
shall retain jurisdiction over this Agreement.

         130. If, at any time during Phase III, Plaintiffs have good-faith reason to believe that
Defendants are in material breach of the terms of this Agreement, Plaintiffs may move the Court
for tailored relief appropriate to cure the specific alleged breach(es). Plaintiff shall bear the burden
to show material breach. No motion may be made for the purpose of requesting that the Court
modify or revise the terms or length of this Agreement.

       131. This Agreement shall terminate twelve (12) months following the termination of
Phase II. The Court shall retain jurisdiction to resolve any motion pending at the termination of
Phase III or enforce relief ordered by the Court during Phase III.

XII.   ATTORNEYS FEES AND COSTS

        132. The City shall establish a fund of $1,450,000 for reasonable attorneys’ fees and
costs accrued during Phase I and Phase II.

        133.      Every four months, Plaintiffs’ counsel shall submit to the City proof of any
reasonable fees or costs for work performed (e.g., vouchers, receipts, billing records). Plaintiffs’
first submission shall occur four months after the initiation of Phase I.

       134. The City shall reimburse Plaintiffs for any reasonable work done or costs incurred
within sixty (60) days.
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        135.     In the event that the Parties have a disagreement about the reasonableness of
Plaintiffs’ submission, they shall meet and confer within fourteen (14) days of Plaintiffs’
submission. In the event that the Parties cannot resolve any such dispute, any dispute with regard
to fees or costs shall be adjudicated by the Court on motion practice.

       136. Under no circumstances shall the City pay to Plaintiffs a sum greater than
$1,450,000 for reasonable fees and costs accrued during Phase I and Phase II.

       137. Should the amount of reimbursement sought by the Plaintiffs be less than
$1,450,000 after termination of this Agreement, any excess funds would revert to the City.

        138. If Plaintiffs prevail on a motion pursuant to this Agreement, the City shall be
responsible for Plaintiffs’ reasonable fees and costs in connection with such a motion and the
amounts provided in Paragraph 136 shall not apply to those fees, costs and disbursements in
connection with such motion. If the City prevails on a motion pursuant to this Agreement, Plaintiffs
shall be responsible for reasonable costs in connection with such a motion.

         139. An agreement in principle on attorneys’ fees has been reached in Payne and will be
addressed in the individual stipulation of dismissal to follow. The attorneys for Gray and Rolon
will separately negotiate reasonable attorneys’ fees and costs incurred during the course of the
litigation. If the attorneys for Gray or Rolon cannot resolve reasonable fees and costs through
negotiations, they will submit a fee application to the Court, to which Defendant City of New York
will respond.

XIII. OTHER PROVISIONS

        140. Nothing contained in this Stipulation shall abridge, limit, infringe, and/or
otherwise restrict the statutory rights of uniformed members of service and/or the recognized
employee organizations that represent the respective uniformed members of service, as codified in
NYCCBL Section 12-307(a) and (b), as well as the respective collective bargaining agreements
by and between the City and the respective recognized employee organizations. Implementations
and/or enforcements of this provision that may run afoul of said rights shall be subject to
adjudication through either actions under NYCCBL or grievance/arbitration procedures contained
in the respective collective bargaining agreements by and between the City and the respective
recognized employee organizations.

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       141. Nothing in this Agreement has waived the Union Intervenors’ (as defined in this
Agreement) rights to bargain over any changes in working conditions resulting from this Agreement
and any Department policies and procedures resulting therefrom.

SO ORDERED:



                                                                 _________________________
                                                                  Hon. Colleen McMahon
                                                                  United States District Judge



Dated: ________________
       New York, New York




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